 
    

        
		
        

        
        
        
        
        

        
		
        	
		IN THE MATTER OF THE REINSTATEMENT OF MUNRO



    

	
    
	
	
	
		Skip to Main Content
		Accessibility Statement
	
	
		
			
				
					Help
					Contact Us
				
			
			
				
					e-payments
					Careers
				
			
		
	
	
		
			
			
		
		
			
				Home
				Courts
				Decisions
				Programs
				News
				Legal Research
				Court Records
				Quick Links
			
		
	
			
	
		OSCN Found Document:IN THE MATTER OF THE REINSTATEMENT OF MUNRO

					

				
  



				
					
					
						
						Previous Case

						
						Top Of Index

						
						This Point in Index

						
						Citationize

						
						Next Case

						
						Print Only
					
					
				

				
				IN THE MATTER OF THE REINSTATEMENT OF MUNRO2021 OK 19Case Number: SCBD-6990Decided: 04/12/2021THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2021 OK 19, __ P.3d __

				

NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 




IN THE MATTER OF THE REINSTATEMENT OF: KEITH GIFFORD MUNROTO MEMBERSHIP IN THE OKLAHOMA BAR ASSOCIATION AND TO THE ROLL OF ATTORNEYS.
ORDER
Petitioner Keith Gifford Munro voluntarily resigned from the Oklahoma Bar Association (OBA) on December 31, 1994, which the OBA accepted on January 9, 1995. On October 21, 2020, Munro filed a petition for reinstatement pursuant to Rule 11, Rules Governing Disciplinary Proceedings (RGDP), 5 O.S.2011 ch. 1, app. 1-A. A Trial Panel of the Professional Responsibility Tribunal had a hearing on Munro's petition and unanimously recommended Munro be reinstated.


After de novo review of the record, we find:
1. Munro has complied with the procedural requirements necessary for reinstatement;
2. Munro has established by clear and convincing evidence that he has not engaged in the unauthorized practice of law during the period following his resignation;
3. Munro has established by clear and convincing evidence that he possesses the competency and learning in the law required for reinstatement without re-examination;
4. Munro has established by clear and convincing evidence that he possesses the good moral character necessary for reinstatement to the OBA; and
5. Munro has previously paid all costs incurred in this proceeding.
IT IS THEREFORE ORDERED that the petition of Keith Gifford Munro for reinstatement is granted. The OBA's Application to Assess Costs is denied.
IT IS FURTHER ORDERED that reinstatement is conditioned upon the payment of dues for calendar year 2021. Dues shall be paid within 30 days of the date of this Order. Upon payment of his 2021 membership dues, Munro shall be reinstated to membership in the OBA and his name shall be added to the roll of attorneys. Munro shall complete mandatory continuing legal education for calendar year 2021 in the same manner as other members of the OBA.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 12th DAY OF APRIL, 2021.
/S/CHIEF JUSTICE
Darby, C.J., Kane, V.C.J., Kauger, Winchester, Edmondson, Combs, Gurich, Rowe, JJ., concur.




	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	








				
					
					
				

		
		

	
		
			
				oscn
				
				EMAIL: webmaster@oscn.net
				Oklahoma Judicial Center
				2100 N Lincoln Blvd.
				Oklahoma City, OK 73105
			
			
				courts
				
					Supreme Court of Oklahoma
					Court of Criminal Appeals					
					Court of Civil Appeals
					District Courts
				
			
			
				decisions
				
					New Decisions
					Supreme Court of Oklahoma
					Court of Criminal Appeals
					Court of Civil Appeals
									
			
			
				programs
				
					The Sovereignty Symposium
					
					Alternative Dispute Resolution
					Early Settlement Mediation
					Children's Court Improvement Program (CIP)
					Judicial Nominating Commission
					Certified Courtroom Interpreters
					Certified Shorthand Reporters
					Accessibility ADA
									
			
		
	
	
		
			
				
				Contact Us
				Careers
				Accessibility ADA
			
		
	


	
        
        		
        
		
        		
        
        	
    
